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UNITED sTATEs DISTRICT CoURT
wEsTERN DISTRICT oF TENNESSEE 05 JUH -3 PH 2= | l

Western Division

 

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GE_EH§<_ ’,‘.S DIST. CT,
UNITED STATES OF AMERICA WD GF m UEMPH[S
-vs- Case No. 2:05cr20200-00]Ma
ANDRE ADAMS

 

ORDER OF DETENT|ON PEND|NG TR|AL
FlNDlNGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(£), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DlRECTlONS REGARD|NG DETENT|ON

ANDRE ADAMS is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal ANDRE ADAMS shall be afforded a reasonable opportunity for private
consultation With defense counsel On order of a Court of the United States or on request of an attorney for the

govemment, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

/'__`
Date: June l, 2005 J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in

case 2:05-CR-20200 Was distributed by faX, mail, or direct printing on

June 9, 2005 to the parties listedl

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

